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       UNITED STATES DISTRICT COURT
       EASTERN DISTRICT OF NEW YORK

       WANDA TIMMS,                                     CaseNo. 18 cv 1702(RJD)(ST)

                                    Plaintiff,
                                                        Stipulation and Order
                          against                       OF Dismissal with Prejudice

       CITIBANK,N.A.,

                                    Defendant



                      IT IS HEREBY STIPULATED by and between the undersigned

       attorneys for all the parties herein that this action is dismissed with prejudice against
       defendant Citibank, NwA,pursuant to Rule 41(a)(l)(A)(ii) ofthe Federal Rules ofCivil
       Procedure, without costs or attorneys' fees to any party.


                      This Stipulation may be signed in counterparts and electronic, facsimile
       copies and/or photocopies shall be considered originals for all purposes.




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                        The Clerk is directed to close this case.

       Dated: New York,New York
                 February       2019

             Bromberg Law Office, p.c.                           ZEICHNER ELLMAN & KRAUSE LLP


       Bv:                                                 Bv:
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             SO ORDEl
                s/ Raymond J. Dearie

             U.S.D.J.
